     Case 1:17-bk-13478                     Doc 52
 Fill in this information to identify the case:
                                                      Filed 02/17/22 Entered 02/17/22 16:06:35                             Desc Main
                                                      Document     Page 1 of 3
 Debtor 1              Frank L. Riordan

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the:
                                           Southern                       Ohio
                                           --------- District of (St ate)
 Case number
                        1:17-bk-13478




Form 4100R
Response to Notice of Final Cure Payment                                                                                              10/15

According to Bankruptcy Rule 3002.1 (g), the creditor responds to the trustee's notice of final cure payment.



                 Mortgage Information

                                U.S. Bank Trust National Association, as Trustee of the Igloo                Court claim no. (if known):
 Name of creditor:
                                                                                                              3
                                Series IV Trust
                                                                                         9     8      7
 Last 4 digits of any number you use to identify the debtor's account:

 Property address:              4336 Beech St.
                                Number      Street



                                Cincinnati                OH          45212
                                City                     State     ZIP Code




                 Prepetition Default Payments

  Check one:

  Iii   Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim.

  D     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date              $            _
        of this response is:


                 Postpetition Mortgage Payment

  Check one:

  Iii   Creditor states that the debtor(s) are current with all postpetition payments consistent with§ 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:
                                                                              03 ,01_,2022
                                                                              MM/ DD   /YYYY

  D     Creditor states that the debtor(s) are not current on all postpetition payments consistent with§ 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                        (a)   $            _
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                               +   (b)   $_
        c.   Total. Add lines a and b.                                                                                     (c)   $
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became
        due on:                                                               ''
                                                                              MM/ DD    __
                                                                                       /YYYY


Form 4100R                                            Response to Notice of Final Cure Payment                                       page 1
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Debtor 1         Frank L. Riordan                                                             Case number
                                                                                                               @%
                                                                                                                    1.17-bk-13478
                First Name      Middle Name               Last Name
                                                                                                                     -------------




               Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
  ■      all payments received;
  ■      all fees, costs, escrow, and expenses assessed to the mortgage; and
  ■      all amounts the creditor contends remain unpaid.




               Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor's
  proof of claim.

  Check the appropriate box::

   D     I am the creditor.
   Iii   I am the creditor's authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.

 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               C /s/ Molly Slutsky Simons                                                     Date       02   17, 2022
                   Signature




 Print              Molly Slutsky Simons                                                      Title      Attorney for Creditor
                   First Name                      Middle Name         Last Name




 Company
                    Sottile and Barile, Attorneys at Law


 If different from the notice address listed on the proof of claim to which this response applies:


                    394 Wards Corner Road, Suite 180
 Address
                   Number                 Street


                    Loveland                                           OH          45140
                   City                                                State       ZIP Code




 contact phone     (51@_        444      4100                                                 E fl4].1
                                                                                                         bankruptcy@sottileandbarile.com




Form 4100R                                                        Response to Notice of Final Cure Payment                                 page 2
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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 CINCINNATI DIVISION

 In Re:                                          Case No. 1:17-bk-13478

 Frank L. Riordan                                Chapter 13

 Debtor.                                         Judge Jeffery P. Hopkins

                                 CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Response to Notice of Final Cure Payment was served
electronically on February 17, 2022 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by first class mail on February 17, 2022 addressed to:

          Frank L. Riordan, Debtor
          4336 Beech Street
          Cincinnati, OH 45212

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor
